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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

ERLINDA TENORIO and ABEL                           §
TENORIO,                                           §
                                                   §
         Plaintiffs,                               §
                                                   §
v.                                                 §
                                                          CIVIL ACTION NO:           17-1116
                                                   §
THE CITY OF KYLE, TEXAS and                        §
UNION PACIFIC RAILROAD                             §
COMPANY,                                           §
                                                   §
         Defendants.                               §

               INDEX OF DOCUMENTS FILED WITH NOTICE OF REMOVAL

         1.       The State Court Docket Sheet as of 11/27/17;

         2.       Copies of all process, pleadings, orders, and other papers filed in the State Court
                  Action and obtained by Union Pacific;

                  a.      Plaintiffs’ Original Petition and Jury Demand (filed 10/26/17); and

                  b.      Citation to Defendant Union Pacific Railroad Company.

The state judge has not signed any orders.




                                                                                          Exhibit A
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                                                        REGISTER OF ACTIONS
                                                                   CASE NO. 17-2263

ERLINDA TENORIO AND ABEL TENORIO VS. THE CITY OF KYLE, TEXAS §                                        Case Type: Other Injury or Damages
AND UNION PACIFIC RAILROAD COMPANY                           §                                        Date Filed: 10/26/2017
                                                             §                                          Location: 207th District Court
                                                             §
                                                             §


                                                                   PARTY INFORMATION

                                                                                                                      Lead Attorneys
Defendant      City of Kyle
                100 W. Center St.
                Kyle, TX 78640


Defendant      Union Pacific Railroad Company
                1999 Bryan St., Ste. 900
                Dallas, TX 75201


Plaintiff      Tenorio, Abel                                                  Male                                    Gary A Calabrese
                101 Tenorio St                                                                                         Retained
                Kyle, TX 78640                                                                                        512/472-9394(W)


Plaintiff      Tenorio, Erlinda                                               Female                                  Gary A Calabrese
                101 Tenorio St.                                                                                        Retained
                Kyle, TX 78640                                                                                        512/472-9394(W)


                                                              EVENTS & ORDERS OF THE COURT

           OTHER EVENTS AND HEARINGS
10/26/2017 Court's Docket Sheet
10/26/2017 Plaintiffs Original Petition (Open Case)
10/27/2017 Citation
              City of Kyle                                           Served                  11/09/2017
              Union Pacific Railroad Company                         Served                  11/06/2017
11/14/2017 Affidavit of Service/Return Of Service
             City of Kyle


                                                                 FINANCIAL INFORMATION



             Plaintiff Tenorio, Erlinda
             Total Financial Assessment                                                                                                      437.00
             Total Payments and Credits                                                                                                      437.00
             Balance Due as of 11/27/2017                                                                                                      0.00

10/26/2017   Transaction Assessment                                                                                                          435.00
10/26/2017   Texfile Electronic Payment Receipt # 209519-DC                               Tenorio, Erlinda                                 (435.00)
11/14/2017   Transaction Assessment                                                                                                             2.00
11/14/2017   Texfile Electronic Payment Receipt # 210919-DC                               Tenorio, Erlinda                                    (2.00)




                                                                                                                               Exhibit A
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http://public.co.hays.tx.us/CaseDetail.aspx?CaseID=13025180                                                                        11/27/2017
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